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                          EXHIBIT D

        CryptoFX ASSET & RECOVERIES
              9-30-23 _ REDACTED
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                          Asset                                             Description                                   Value

Liquidated Assets
      Cash                                    Cash located at 1124 Blalock Rd                                                 $53,346
      Cash in Safe                            Recovered from two safes at Blalock Rd                                         $392,765
      First Community Credit Union            Closed Benvenuto bank account                                                  $407,042
      First Community Credit Union            Closed Benvenuto bank account                                                   $44,406
      Bank of America                         Closed Benvenuto bank account                                                   $16,825
      Bank of America                         Closed Benvenuto bank account                                                    $4,500
      Simmons Bank                            Closed Benvenuto bank account                                                   $80,764
      Simmons Bank                            Closed CBT bank account                                                        $247,916
      Regions Bank                            Closed Chavez bank account                                                         $782
      Coinbase, Inc.                          Proceeds from liquidation of crypto account                                    $982,924
      Blockchain.com                          Proceeds from liquidation of crypto account                                  $1,161,141
      Burford Perry LLC                       Balance of retainer                                                            $155,631
      Gerger Hennessy & Martin LLP            Balance of retainer                                                            $214,488
      Jones Walker Retainer                   Turned over to Receiver                                                        $102,229
      Televisions                             Located at 1124 Blalock                                                          $3,040
      Pratt & Flack LLP                       Cash turned over to the Receiver by Chavez                                      $55,000
      Hogan Lane, Hempstead TX                Net sale proceeds from sale of real property                                    $64,758
      Exodus Wallet                           BTC, Tether & Solana. Liquidated in April 2023.                                 $86,915
      28 Lawrence Marshall Dr, Hemptstead, TX Sale closed in April 2023.                                                      $65,027
      2020 Volkswagen Tiguan                  Turned over to Receiver by Angelica Vargas and liquidated                       $16,695
      2021 Mercedes-Benz GLE AMG              Turned over to Receiver by Mauricio Chavez and liquidated                       $63,568

Total Liquidated Assets                                                                                                    $4,219,761

Unliquidated Assets

   Benvenuto Holdings Bank Accounts
      First Community Credit Union             Benvenuto Holdings frozen account                                             $109,077
      First Community Credit Union             Benvenuto Holdings frozen account                                               $1,625

   Vehicles & Personal Property
      2022 BMW X6 M501                         Offer received. Loan paid off by Receiver                                      $64,600
      CFX furniture and fixtures               Removed from 1124 Blalock to be sold                                            $2,000
      Computers                                At Receiver's office. Will be preserved                                         $5,000

   Real Properties
      Mack Washington, Hempstead, TX           CBT purchased for $2.05 million. Listed for sale for $1.15 million          $1,150,000

   Janette Gonzalez and related entities
                             , Missouri City, TX JJ Trust via Luxury Real Estate LLC                                         $750,000
                          , Missouri City, TX    Aspire Living LLC via Gonzalez                                              $607,700
                            , Richmond, TX 77406 The JCA Trust via JM Monarchy                                               $400,000
                       , Richmond, TX            JM Monarchy LLC via Chavez                                                  $478,700
      Regions Bank Account                       Frozen bank accounts - Luxury Real Estate & Hair News Color                  $61,045
      2021 Lexus ES350 F Sport                   Transferred to JM Monarchy.                                                  $30,000
      Other Transfers                            Receiver Calculating                                                            TBD

   Angelica Vargas
                               Katy, TX 77494 Purchased with investor funds                                                  $630,000
      2021 Mercedes-Benz GLS                  Purchased for $114,015.21                                                        $75,000
      Cash and other payments from Defendants Deposits into Chase Bank account.                                              $433,233
      Crypto Transfers                        Over $11 million in/out of crypto account                             Finalizing Number

   Causes of Action
      Transfers to Leaders                     Motion pending for turnover of Google Drive to determine amounts             Unknown
      PLS Check Cashers                        $4,784,618 in money orders purchased. (est 20% recovery)                     $960,000


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                       Asset                                      Description       Value
      Ebenezer Construction           Payments for work not performed                 $950,249
      Gabriel Torres                  Owner of Ebenezer Construction and Investor     Unknown
      Gustavo Gomez                   Transfer of cryptocurrency                      $500,000
      Julio Taffinder                 Payments to son of Eduardo Taffinder            $149,500
      Hanna Gabriela Salido           Payments to daughter of Eduardo Taffinder       $137,500

Total Unliquidated Assets                                                            $7,495,229

Liquidated Plus Unliquidated Assets                                                 $11,714,990




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